Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Pageiof15 PagelD#: 8

MAINE STATE DISTRICT COURT

 

SOMERSET COUNTY
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TEDDY DYER, RECEIVEL
Individually and on Behalf of All
Others Similarly Situated, JUN 28 2021
erset Count a
Plaintiff, :
CLASS ACTION
V.

THE COUNTY of SOMERSET,

Defendant.

/
CLASS ACTION COMPLAINT

 

Plaintiff, Teddy Dyer (“Plaintiff”), individually and on behalf of all others similarly
situated, sues Defendant, The County of Somerset (Hereafter “The County”) and as grounds
states:

NATURE OF ACTION

1. This is a class action brought on behalf of the Correctional Officers who worked
at the Somerset Jail between July 1, 2015 and June 30, 2021 and were covered by any of the
Collectively Bargaining agreements signed between those dates.

2. According to the plain language of the 2015 contract:” . . . the County shall
submit a request to the U.S. Department of Labor (hereafter refer to as DOL) for a wage
determination for correction officers based on the County’s current contract with the U.S.

Marshall’s Service to house federal detainees at the Somerset County Jail”.

 
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 2of15 PagelD#: 9

3, The 2015 contract also stated that: “The County agrees that if the wage
determination is in excess of the current wages the County will meet and negotiate wages for the
term of the current contract.”

4. Each year the DOL publishes a Register of Wage Determinations under the
Service Contract Act.!

2. DOL’s Register of Wage Determinations provides a rate for many job
classifications of service employees in Somerset County, including Correctional Officers.”

6. The published Register of Wage Determinations in 2015 included a Note which
states: “Executive Order (EO) 13658 establishes an hourly minimum wage of $10.10 for
calendar year 2015 applies to all contracts subject to the Service Contract Act... the contractor
must pay all workers in any classification listed on the wage determination at least $10.10 (or the
applicable wage rate listed in the wage determination, if it is higher) ...”

7. DOL’s published Register of Wage Determination has been, and continues to be,
higher than the rates Correctional Officers in Somerset County received between 2015 and 2021.

8. Rather than accept rates in DOL’s published Register of Wage Determinations,
the County chose to not apply those rates, and sought an opinion from the DOL that the County
need not pay the published rate for Correctional Officers in Somerset County.

. Due to delays in the negotiation process, the 2012 contract remained in effect
until September 2016, at which time, the 2015 contract was signed to be in effect until June of
2017.

10. The 2015 contract: was extended in 2017, and still contained the language about
meeting and negotiating salaries as was in the 2015 contract, while the County waited for DOL

to respond to its request.

 

'In many years DOL publishes the register twice a year.
? DOL publishes it’s Register of Wage Determinations at https://sam.gov

 
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 3o0f15 PagelD#: 10

KL In October of 2019, The County entered into another Collective bargaining
agreement for the Correctional Officer’s services. This contract did not contain the language
about meeting and negotiating based on the DOL Wage Determination.

12. These multi-year, fixed-price contracts were subject to the McNamara-O'Hara
Service Contract Act of 1965 (“SCA”), 41 U.S.C. § 6701, et seq., and its implementing
regulations.

13. Although the DOL’s Register of Wage Determination is published yearly and
posted to the DOL’s website, the County of Somerset failed to meet and negotiate wages for the
term of the 2015 and 2017 contracts.

14. The County of Somerset also failed to meet and negotiate wages for the current
contract after becoming aware that the DOL’s wage scale determination for Correctional Officers
exceeded the wages the County had been paying its Correctional Officers.

15. Had the County met and negotiated wages in accordance with the DOL’s wage
scale determination, not only would the salaries paid under the 2015 have increased, but the
hourly wage for Correctional Officers under the subsequent contracts would also have increased.

16. The contract signed in 2015 and the subsequent contracts are subject to the
McNamara-O'Hara Service Contract Act of 1965 (“SCA”), 41 U.S.C. § 6701, et seq., and its
implementing regulations.

17. As relevant here, the SCA requires that a service contract include provisions
specifying the contract's “wage determination,” which sets the wage rates and fringe benefits that
must be paid to various classes of covered service employees. Covered service employees are
entitled to a wage determination providing wages and fringe benefits equal to or greater than: (1)
the minimum wage provided pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §

206; (2) the prevailing rates provided in the locality where the services are performed, as

 
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 4of15 PagelD#: 11

determined by the Department of Labor (“DOL”); or (3) the rates contained in the predecessor
contract's collective bargaining agreement. 41 U.S.C. §§ 6703, 6704; 48 C.F.R. §§ 22.1002-2,
22.1002-3; see also Lear Siegler Servs., Inc. v. Rumsfeld, 457 F.3d 1262, 1266-67 (Fed. Cir.
2006).

18. Among other things, the SCA ensures that service employees who were protected
by a collective bargaining agreement with one contractor are not deprived of the wages and
benefits negotiated in that collective bargaining agreement when the contract they work on is
competitively awarded to a new contractor. Otherwise, if an incumbent contractor agreed to a
collective bargaining agreement that provided for wages and benefits greater than the prevailing
wage rate, a challenger could under-bid the incumbent for the follow-on contract by providing its
employees with lower wages and less valuable benefits. By requiring a successor contractor to
provide wages and fringe benefits of equal or greater value than the predecessor contractor, the
government protects covered service employees from losing the protection of their collective
bargaining agreements. The government also protects itself from successor contractors who
might introduce performance risk in the form of underpaid or low-quality labor.

19. These requirements are reflected in Federal Acquisition Regulation (“FAR”)
clause 52.222-41 entitled Service Contract Labor Standards, which is incorporated by reference
into most contracts, and we believe is incorporated in the County’s contract with the United
States Marshal service.?

20. One of the principal policy implications of the SCA is that the U.S. government,
as a customer, is willing to pay a premium for services in return for its contractor's obligation to
compensate service employees adequately and fairly. Accordingly, the government is willing to

increase contract price when contractors incur increased costs as a result of complying with an

 

3 We have not seen the County’s contract with the U.S. Marshals, but plan to pursue this line of inquiry
during discovery.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page5of15 PagelD#: 12

increase in the wage determination applicable to their contract. In effect, the contractor is
entitled to a price adjustment to reflect increased labor costs associated with complying with an
increase in the FLSA minimum wage rate, DOL prevailing wage rate, or the predecessor
contract's collective bargaining agreement. The mechanism for providing that price increase is
the SCA Price Adjustment Clause. (See Call Henry Inc. v. United States available at
https://www.govinfo.gov/content/pkg/USCOURTS-cal 3-16-01732/pdf/USCOURTS-ca13-16-
01732-0.pdf )

21. For multi-year and option contracts, such as the one at issue in this case, there
should be an applicable SCA Price Adjustment Clause such as FAR 52.222-43. Usually,
paragraph (d) of that clause provides a framework for increasing the unit labor rates in a service
contract when certain events occur that increase the costs of complying with an increased wage
determination. That paragraph usually acknowledges cost increases due to an increase in the
FLSA minimum wage or DOL prevailing wage rate. It also recognizes cost increases that occur
by operation of law, such as when a successor contract is bound by the wages and benefits
provided in a predecessor contractor's collective bargaining agreement.

Breach of the Implied Covenant of Good Faith and Fair Dealing.

22. Plaintiff, individually and on behalf of the Class, incorporates by reference all of
the allegations contained in paragraphs 1-21 of this Complaint.

23; Federal common law imposes an implied covenant of good faith and fair dealing
in the performance of all contracts.

24. The 2015 and 2017 contracts include terms stating that if the DOL’s wage
determination exceeds the current wages the County will meet and negotiate wages for the term

of the contract.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page6of15 PagelD#: 13

25. The County knew, or should have known, that DOL publishes its Register of
Wage Determinations on its website.

26. The County knew or should have known, that DOL’s Register of Wage
Determinations exceeded the wages being paid under the 2015 and 2017 contracts, and that the
County’s refusal to negotiate wages in accordance with the published DOL wages was a breach

of the 2015 and 2017 contracts.

27. Defendant has breached the implied covenant of good faith and fair dealing by
refusing to meet and negotiate wages for the 2015 and 2017 contracts.

28. Had Defendant met and negotiated wages for the 2015 and 2017 contracts, the
wages under all subsequent contracts would also be higher.

29. Defendants claim they do not have to meet and negotiate wages based on the
DOL’s wage determination because DOL concluded the contract with the U.S. Marshal’s was a
sole source contract and therefore McNamara-O’Hara Act does not apply.

30. Nothing in the County’s contract with its Correctional Officers would exclude the
County from and negotiating wages based on DOL’s wage scale determination.

31. Furthermore, nothing in the McNamara-O’Hara Act would make the Act not be
applicable to a contract based solely on the contract being a sole source contract.

32. Even is a Sole Source Contract would exclude a contractor from meeting its
obligations under the McNamara-O’Hara Act, the U.S. Marshal’s service has contracts with
several jails in Maine, which means it’s contract with Somerset County could not possibly be a
classified as a Sole Source Contract since several jails in Maine have contracts to provide similar
services.

33. Plaintiff and the Class performed their duties under the contracts or were excused

from doing so.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page'7of15 PagelD#: 14

34. As a direct and proximate cause of Defendant’s breach of the implied covenant of
good faith and fair dealing under the contracts, Plaintiff and the Class were harmed and are owed
compensatory damages.

35. Despite the plain language of the 2015 and 2017 contracts, and the McNamara-
O’Hara Act, the County Fee still refuses to negotiate rates based on the DOL’s wage scale
determination, as they contractually agreed to do.

36. Defendant continues to foster a situation where Correctional Officers are under
paid.

37. This failure by Defendant is a breach of its contracts with Plaintiff and other
members of the proposed Class (defined below).

38. Defendant likewise is breaching the implied covenant of good faith and fair
dealing with the Plaintiff and members of the proposed class.

39. Accordingly, Defendant owes Plaintiff and the Class damages as compensation
for the failure to negotiate and for withheld wages.

JURISDICTION AND VENUE

40. This Court has jurisdiction over this action pursuant to Maine Revised Statute
Title 4, Chapter 5, section 152 (2) and Title 4, Chapter 5, section 152 (5) (I). Venue is proper in
this Court, where the Plaintiff resides, pursuant to Maine Revised Statute Title 4, Chapter 5,
section 155 (4).

PARTIES

41. Plaintiff, Teddy Dyer is a Maine resident with his principal residence in Madison,

Maine. During the time-period of the proposed Class, Plaintiff was a Correctional Officer at the

Somerset County Jail until his retirement in August of 2019.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 8of15 PagelD#: 15

42. Defendant, The County of Somerset, includes Somerset County and its
Commissioners who administer the budget and contracts for the County jail.

43. The Somerset County Commissioner’s Office is at 41 Court Street, Skowhegan,
ME 04976.

FACTUAL ALLEGATIONS
The Contracts for Correctional Officers

44. Due to delays during negotiations, the 2015 contract with Correctional Officers
was not signed until September 2016.

45. The 2017 contract with Correctional Officers was an extension of the 2015
contract, and was signed in 2017.

46. Both the 2015 contract, signed in September of 2016, and the 2017 contract,
signed in 2017, contained language stating “The County agrees that if the wage determination is
in excess of the current wages the County will meet and negotiate wages for the term of the
current contract.”

47. The 2019 contract with Correctional Officers was signed in October 2019.

48. The 2019 contract did not contain the “meet and negotiate wages clause ...”

49. The DOL published its Register of Wage Determinations Wage scale
determination for Somerset County each year between 2015 and 2021.

50. The County failed to negotiate wages based on the DOL’s published Register of
Wage Determinations and has claimed the wages in DOL’s published Register of Wage
Determinations are inapplicable because the contract with the U.S. Marshall’s Service was a sole

source contract.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page9of15 PagelD #: 16

CLASS ACTION ALLEGATIONS

51. Plaintiff brings this class action on behalf of himself and all others similarly
situated as members of a proposed Class defined as follows: All Correctional Officers who
worked in the Somerset County Jail within the last six years.

Excluded from the Class are any persons who worked as Correctional Officers at the

Somerset County Jail during the class period and were paid a base hourly wage greater

than the DOL’s wage scale determination. (base hourly wages is the hourly wage paid

without including increases for education or overtime) This action is brought as and may
properly be maintained as a class action pursuant to Rule 23 of the Maine Rules of Civil

Procedure.

52: This action satisfies the numerosity, commonality, typicality, adequacy,
predominance, and superiority requirements of these rules.

53. | Numerosity Under Rule 23(a)(1). The Class is so numerous that the individual
joinder of all members (“Class Members”) is impracticable. While the exact number of Class
Members is currently unknown and can only be ascertained through appropriate discovery, the
Somerset County Jail has had dozens and dozens of Correctional Officers during the past 6 years.
This is more than sufficient to satisfy the numerosity requirement. Each of these Class Members
can also be ascertained by referencing the County’s business records, which include the contact
information for Class Members.

54. Commonality Under Rule 23(a)(2). Common legal and factual questions exist
that predominate over any questions affecting only individual Class Members. These common
questions, which do not vary among Class Members and which may be determined without

reference to any Class Member’s individual circumstances, include, but are not limited to:
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 10o0f15 PagelD#: 17

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Whether Defendant breached its contract by not meeting and negotiating wages
after the DOL’s wage scale determination was published.

Whether the wages for any and all contracts after the 2015 contract would also
have increased wages due to the DOL’s wage scale determination.

Whether Defendant owes back wages based on what the wages should have
been, and how much those wages should be.

Whether Defendant breached the implied covenant of good faith and fair dealing
by contract by failing to meet and negotiate wages after the DOL’s wage scale
determination was published.

Each of these common questions is also susceptible to a common answer that is
capable of class-wide resolution and will resolve an issue central to the validity of
the claims.

Adequacy of Representation Under Rule 23(a)(4). Plaintiff is an adequate Class
representative because it is a Class Member, and its interests do not conflict with
the Class’s interests. Plaintiff has retained counsel that is competent and
experienced in class actions. Plaintiff and its counsel intend to prosecute this
action vigorously for the Class’s benefit and will fairly and adequately protect the
Class’s interests.

23(b)(2) Generally Applicable Grounds. The Class can be properly maintained
under Rule 23(b)(2). Defendant has failed, and continues to fail to meet and
negotiate wages in response to the DOL’s wage scale determination. Defendant,
therefore, has acted or refused to act, with respect the issues presented in this

Complaint, on grounds generally applicable to the Class.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page ilof15 PagelD#: 18

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Rule 23(b)(3) Predominance and Superiority. The Class can be properly
maintained under Rule 23(b)(3), because the above common questions of law and
fact predominate over any questions affecting only individual Class Members. A
class action is also superior to other available methods for the fair and efficient
adjudication of this litigation because individual litigation of each Class
Member’s claim is impracticable. Even if each Class Member could afford
individual litigation, the court system could not. It would be unduly burdensome
if dozens and dozens of individual cases were to proceed. Individual litigation
also presents the potential for inconsistent or contradictory judgments, the
prospect of a race to the courthouse, and the risk of an inequitable allocation of
recovery among those with equally meritorious claims. Individual litigation would
increase the expense and delay to all parties and the courts because it requires
individual resolution of common legal and factual questions. By contrast, the
class-action device presents far fewer management difficulties and provides the
benefit of a single adjudication, economies of scale, and comprehensive
supervision by a single court.

CLAIMS FOR RELIEF COUNT I

Breach of Contract

Plaintiff, individually and on behalf of the Class, incorporates by reference all of
the allegations contained in paragraphs 1-58 of this Complaint.
The 2015 and 2017 contracts both state that if the DOL’s wage determination
exceeds the current wages the County will meet and negotiate wages . . .”
DOL’s wage determination clearly exceeded the wages being paid to Correctional

Officers by the County.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 12o0f15 PagelD#: 19

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Defendant, improperly refused to meet and negotiate wages as required under the

2015 and 2017 contracts.

Under the terms of the contracts, the wages should have been renegotiated in
response to the DOL’s wage determination exceeding the wages being paid by the
county.

By failing to meet the wages in the DOL’s wage determination, Defendant
violated an express term of the contract. As a result, the Defendant breached their
contracts with Plaintiff and the Class.

Plaintiff and the Class performed their duties under the contracts or were excused
from doing so.

As a direct and proximate cause of Defendant’s breach of the contracts, Plaintiff

and the Class were harmed and are owed compensatory damages.

COUNT II
Breach of the Implied Covenant of Good Faith and Fair Dealing
Plaintiff, individually and on behalf of the Class, incorporates by reference all of

the allegations contained in paragraphs 1-66 of this Complaint.

Common law imposes an implied covenant of good faith and fair dealing in the

performance of all contracts.

DOL’s wage determination clearly exceeded the wages being paid to Correctional

Officers by the County.

Defendant, improperly refused to meet and negotiate wages as required under the

2015 and 2017 contracts.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 130f15 PagelD#: 20

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The 2015 and 2017 contracts both state that if the DOL’s wage determination
exceeds the current wages the county will meet and negotiate wages...”

Under the terms of the contracts, the wages should have been renegotiated in
response to the DOL’s wage determination exceeding the wages being paid by the
county.

By failing to meet the wages in the DOL’s wage determination, Defendant has
breached the implied covenant of good faith and fair dealing

Plaintiff and the Class performed their duties under the contracts or were excused
from doing so.

As a direct and proximate cause of Defendant’s breach of the contracts, Plaintiff
and the Class were harmed and are owed compensatory damages.

Defendant has breached the implied covenant of good faith and fair dealing in the
performance of these contracts by failing to meet and negotiate wages that were

published by the DOL in its Register of Wage Determinations.

Defendant continues to breach the implied covenant of good faith and fair dealing
in the performance of these contracts by failing to meet and negotiate wages that
are published by the DOL in its Register of Wage Determinations.

Plaintiff and the Class performed their duties under the contracts or were excused

from doing so.

As a direct and proximate cause of Defendant’s breach of the implied covenant of
good faith and fair dealing under the contracts, Plaintiff and the Class were

harmed and are owed compensatory damages.
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 1i4of15 PagelD#: 21

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COUNT III
Illegal Exaction
Plaintiff, individually and on behalf of the Class, incorporates by reference all of

the allegations contained in paragraphs 1-79 of this Complaint.

DOL’s published Register of Wage Determinations clearly exceeded the wages

being paid to Correctional Officers by the County.

Defendant, improperly refused to meet and negotiate wages as required under the

2015 and 2017 contracts.

By refusing to negotiate wages that matched or exceeded the DOL’s wage
determination as required by the McNamara O’Hara Act, the County withheld

wages that are owed to the County’s Correctional Officers.

Defendant has retained the funds it unlawfully withheld from Plaintiff and the

Class and has not reimbursed or otherwise compensated Plaintiff and the Class.

Plaintiff and the Class seek payment of all wages that should have been paid to
meet the DOL’s published wage in its Register of Wage Determinations for

Correctional Officers in Somerset County.

Prayer for Relief

Plaintiff, on behalf of itself and the Class, requests that the Court order the following

relief and enter judgment against the Defendant as follows:

A.

B.

Cc.

An order certifying the proposed Class under Maine Rule of Civil Procedure 23;
An order appointing Plaintiff and its counsel to represent the Class;

A finding that Defendant breached its contracts with Plaintiff and the Class;
Case 1:21-cv-00262-JAW Document 3-2 Filed 09/13/21 Page 150f15 PagelD#: 22

D.

A finding that Defendant breached the implied covenant of good faith and fair
dealing with the Class;

A finding that the Defendant illegally exacted money from Plaintiff and the Class
in violation of the Due Process Clause of the Fifth Amendment;

A judgment awarding Plaintiff and the Class compensatory damages and any
other damages authorized by law in amounts to be proven at trial;

Pre-judgment and post-judgment interest at the maximum allowable rate;
Attorneys’ fees and expenses and the costs of this action; and

All other relief, including equitable and injunctive relief, that this Court deems

necessary, just, and proper.

Dated: June 28, 2021

By: /s/ Wendell A. Skidgel Jr.
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